
BASCHAB, Judge,
concurring specially.
This is the first time this court has had an opportunity to address an issue related to the new domestic violence statutes. I concur specially because I am acutely aware of the long-standing problem of inadequate bail amounts in domestic violence cases. The circuit court in this case obviously recognized the problem. Regarding the bail amount in this case, the court specifically stated, “While bail is extremely high, there is a clear and present danger to minor children due to one child being in custody of grandmother.” Although I appreciate the circuit court’s concern about the vulnerability of the victims, I am concerned that the setting of an excessive bail amount may go too far in the opposite *608direction and hinder the purposes of the new domestic violence statutes.
